
GREEN, J.
F.C., a juvenile, entered a nolo conten-dere plea to the charge of possession of a firearm on school property on the eve of trial and approximately four months after the denial of his motion to suppress. On this appeal, F.C. challenges the order denying his motion to suppress. We dismiss this appeal for lack of jurisdiction where the parties did not stipulate that the suppression issue was dispositive of this case and the trial court did not make an express finding to that effect. See Brown v. State, 376 So.2d 382 (Fla.1979); White v. State, 661 So.2d 40 (Fla. 2d DCA 1995); Roob v. State, 572 So.2d 1022 (Fla. 3d DCA 1991).
Appeal dismissed.
